Case 1:13-cr-00302-JBW          Document 237           Filed 11/14/14    Page 1 of 4 PageID #: 1479
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                                                                               * N1V 142014 *
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK                                                  BRCC;KLY) OFFICE

 UNITED STATES OF AMERICA,                                      1 3-CR-302

                - against -                                     Statement of Reasons for Sentencing
                                                                Pursuant to 18 U.S.C. § 3553(c)(2)
 NEKEBWE SUPERVILLE,

                        Defendant.


 JACK B. WEINSTEIN, Senior United States District Judge:

    I.      Introduction

         A sentencing court shall "state in open court the reasons for its imposition of the

 particular sentence." 18 U.S.C. § 3553(c). If the sentence is not of the kind prescribed by, or is

 outside the range of, the Sentencing Guidelines referred to in Section 3553(a)(4), the court shall

 indicate the specific reasons for imposing a sentence different from the Guidelines. 18 U.S.C.

 § 3553(c)(2). These "reasons must also be stated with specificity in the written order of

 judgment and commitment." Id. Even though the mandatory nature of the Guidelines has been

 excised and they are now "advisory," see United States v. Booker, 543 U.S. 220, 245-46 (2005),

 the sentencing court must still adhere to the requirements of 18 U.S.C. § 3553(c)(2). United

 States v. Jones, 460 F.3d 191, 197 (2d Cir. 2006).

         The sentencing court's written statement of reasons shall be "a simple, fact-specific

 statement explaining why the Guidelines range did not account for a specific factor or factors

 under § 3553(a)." United States v. Rattoballi, 452 F.3d 127, 138 (2d Cir. 2006), abrogated in

 part on other grounds by Kimbrough v. United States, 552 U.S. 85 (2007)). Such a statement

 should demonstrate that the court "considered the parties' arguments and that it has a reasoned

 basis for exercising its own legal decisionmaking authority." United States v. Cavera, 550 F.3d


                                                   1
Case 1:13-cr-00302-JBW            Document 237           Filed 11/14/14    Page 2 of 4 PageID #: 1480




 180, 193 (2d Cir. 2008) (quoting Rita v. United States, 551 U.S. 338, 356 (2007)) (internal

 quotations and alterations omitted).

           In view of the excessive incarceration rates in the recent past and their unnecessary,

 deleterious effects on individuals sentenced, society and our economy, parsimony in

 incarceration is to be prized. See, e.g., 18 U.S.C. § 3553 (a) ("The court shall impose a sentence

 sufficient, but not greater than necessary"); National Research Council of the National

 Academies, The Growth of Incarceration in the United States, Exploring Causes and

 Consequences, 8 (2014) ("Parsimony: the period of confinement should be sufficient but not

 greater than necessary to achieve the goals of sentencing policy.").

     II.       Facts

           On February 18, 2014, the defendant pled guilty to one count for conspiring to distribute

 with intent to distribute 1,000 kilograms or more of marijuana, in violation of 21 U.S.C. § 846

 and § 841 (b)( 1 )(A)(vii), and one count for conspiring to the transfer and delivery of United

 States currency involving the proceeds of narcotics trafficking, in violation of 21 U.S.C. § 846

 and § 841 (a)(1), knowing that the property involved in the transactions represented the proceeds

 of some form of unlawful activity, and knowing that the transactions were designed in whole and

 in part to conceal and disguise the nature, the location, the source, the ownership, and the control

 of the proceeds of the specified unlawful activity, all in violation of 18 U.S.C. § 1956(h) and

 1 956(a)( 1 )(B)(i).

           On October 8, 2014, Mr. Superville was sentenced. The proceeding was videotaped in

 order to develop an accurate record of the courtroom atmosphere, as well as the factors and

 considerations that a district court must evaluate in imposing a sentence in accordance with 18




                                                     2
Case 1:13-cr-00302-JBW              Document 237         Filed 11/14/14    Page 3 of 4 PageID #: 1481



 U.S.C. § 3 553(a). See In re Sentencing, 219 F.R.D. 262, 264-65 (E.D.N.Y. 2004) (describing

 the value of video recording for the review of sentences on appeal).

     III.      Offense Level and Category

            Counts 1 and 2 are grouped for the purposes of guideline calculation. U.S.S.G. §

 3D1 .2(c).

            The total offense level is 31. The criminal history is category I. The guideline

 imprisonment range is 108 to 135 months. There is no required statutory minimum because

 meets factors laid out inU.S.S.G. § 5C1.2(a); 18 U.S.C. § 3553(f).

            No statutory minimum for supervised release is required because defendant meets

 mitigating factors laid out in 18 U.S.C. § 3553(f).

     IV.       Context

            The court considered the "nature and circumstances of the offense and the history and

 characteristics of the defendant." See id. § 3553(a)(1).

            Mr. Superville is a 31-year old permanent resident of the United States, who is a citizen

 of Trinidad and Tobago. His father died before he turned one. He was raised by his mother, a

 working professional, in a middle class family. Mr. Superville has completed some coursework

 toward a college degree and runs a media sales business. He is involved in a long term

 relationship which produced two children, with whom he resides. Since his arrest, Mr.

 Superville has engaged in philanthropic work.

            The defendant is a good person who made a terrible choice. He cooperated fully with the

 government, at risk to his self.

            Under Section 3553(a)(2)(B) of Title 18, a sentencing court must consider two major

 factors: general and specific deterrence. General and specific deterrence are achieved by the


                                                     3
Case 1:13-cr-00302-JBW          Document 237           Filed 11/14/14    Page 4 of 4 PageID #: 1482




 sentence imposed. He will have to live with the consequences of a felony conviction. The

 prospect of deportation was also considered in sentencing. See United States v. Chin Chong, No.

 13-CR-570, 2014 WL 4773978, at *13 (E.D.N.Y. Sept. 24, 2014).

    V.      Sentence

         In light of defendant's otherwise clean record and the fact that he cooperated fully with

 the government, defendant was sentenced to three years probation, under conditions specified

 orally at sentencing. A $100 special assessment was imposed for each of the two counts. The

 $200 assessment is payable forthwith. No fine was levied because Mr. Superville does not

 possess substantial assets.

         In so ruling, respectful consideration was given to the Sentencing Guidelines, the

 Sentencing Commission's policy statements, and all other factors listed under 18 U.S.C.

 § 3553(a) to ensure that the sentence is "sufficient, but not greater than necessary, to comply

 with the purposes" of sentencing.

                                                         SO., ORDERED.




                                                         Jack B. Weinstein
                                                         Senior United States District Judge
 Dated: November 7, 2014
        Brooklyn, New York




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